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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

DARREN DOUGLAS,

       Plaintiff,

v.                                                     Case No: 8:16-cv-2163-MSS-AAS

BLUESTEM BRANDS, INC.,

       Defendant.


               ORDER OF DISMISSAL WITHOUT PREJUDICE
       On February 7, 2017, Plaintiff filed a Notice Pending Settlement, informing the

Court that the Parties “have reached a tentative settlement” and “are presently drafting,

finalizing, and executing the formal settlement documents.” (Dkt. 17) Therefore it is

hereby

       ORDERED that pursuant to Rule 3.08 (b) of the Local Rules of the United States

District Court for the Middle District of Florida, this case is DISMISSED WITHOUT

PREJUDICE, subject to the right of the Parties, within sixty (60) calendar days from the

date of this Order, to submit a final stipulation of dismissal, should they so choose, or for

any party to reopen the case, upon good cause shown. After the sixty (60)-day period,

the dismissal shall be with prejudice. Any pending motions are DENIED as moot. The

Clerk is directed to CLOSE this case.

       DONE and ORDERED in Tampa, Florida, this 8th day of February, 2017.



Copies furnished to:
Counsel of Record
Any pro se party
